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(3/15)


                              UNITED STATES DISTRICT COURT
                                                            for
                                           Eastern District of Washington


 U.S.A. vs.                  Kennedy, Jordan Lee                        Docket No.            2:20CR00062-TOR-1


                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Jordan Lee Kennedy, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 28th day of July 2020, under the following conditions:


Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Jordan Lee Kennedy is alleged to have violated his conditions of pretrial release supervision by admitting to
ingesting heroin and methamphetamine on October 26, 2020.

On August 19, 2020, the undersigned officer reviewed the conditions of pretrial release supervision with Mr. Kennedy. Mr.
Kennedy acknowledged an understanding of the release conditions, which included standard condition number 9.

On October 26, 2020, Mr. Kennedy contacted the undersigned officer and admitted to ingesting heroin and
methamphetamine over the weekend.

                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       November 4, 2020
                                                                  by      s/Erik Carlson
                                                                          Erik Carlson
                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS

[ X]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer

                                                                       November 4, 2020
                                                                      Date
